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                                For The Eighth Circuit
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               Erin Elizabeth Wilcox

FROM:          Clifford R. Jackson

DATE:          May 03, 2024

   RE:         24-1179 Minnesota Telecom Alliance v. FCC, et al
               24-1183 MCTA v. FCC, et al
               24-1301 Ohio Telecom Association v. FCC, et al
               24-1304 Ohio Cable Telecommunications Assoc. v. FCC, et al
               24-1309 Florida Internet & Television Assoc. v. FCC, et al
               24-1315 Broadband Assoc. of AL and MS v. FCC, et al
               24-1354 Chamber of Commerce, et al v. FCC, et al
               24-1362 Texas Cable Association v. FCC, et al
               24-1364 Texas Telephone Association v. FCC, et al
               24-1376 NCTA, et al v. FCC, et al
               24-1378 USTelecom, et al v. FCC, et al
               24-1411 Wireless Infrastructure Assoc., et al v. FCC, et al
               24-1444 WISPA v. FCC, et al
               24-1509 Nat'l Multifamily Housing Council v. FCC, et al

              Your paper briefs in the above-case have been received. In reviewing the briefs,
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